       Case 1:05-cv-01104-OWW-GSA Document 131 Filed 01/22/07 Page 1 of 5


 1   Bingham McCutchen LLP
     JASON A. YURASEK (SBN 202131)
 2   DANIEL A. FELDSTEIN (SBN 209364)
     ABIGAIL RAMSDEN (SBN 239544)
 3   HODDY POTTER (SBN 238507)
 4   Three Embarcadero Center
     San Francisco, CA 94111-4067
 5   Telephone: (415) 393-2000
     Facsimile: (415) 393-2286
 6
     Attorneys for Plaintiff BRENDA ALLEN
 7

 8                                      UNITED STATES DISTRICT COURT

 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA

10                                              FRESNO DIVISION

11

12   BRENDA ALLEN,                                               Case No. 1:05-CV-01104-OWW-LJO

13                     Plaintiff,                                STIPULATED PROTECTIVE
              v.                                                 ORDER
14
     JEANNE WOODFORD, et al.,
15
                       Defendants.
16

17

18                     ALL PARTIES HEREBY RECOGNIZE AND AGREE that following the

19   hearing on Motion for Protective Order on July 7, 2006 before the Honorable Dennis L. Beck,

20   the Court ordered that the following procedures shall govern the use and/or disclosure of

21   confidential medical records:

22                     1.        Any and all hospital and medical records obtained or disclosed in

23   connection with the above-entitled litigation shall be designated “Confidential” prior to

24   disclosure and shall be subject to this Protective Order (referred to hereafter as “Confidential

25   Records”). The protections conferred by this Protective Order encompass any information

26   copied or extracted from Confidential Records, as well as all copies, excerpts, summaries, or

27   compilations thereof, including testimony, conversations, or presentations by parties or counsel

28
                                                                              Case No. 1:05-CV-01104-OWW-LJO
                                          STIPULATED PROTECTIVE ORDER
     SF/21679540.1/0999996-2960011767
       Case 1:05-cv-01104-OWW-GSA Document 131 Filed 01/22/07 Page 2 of 5


 1   in any setting, including depositions, that might reveal information contained in any Confidential
 2   Records.
 3                     2.        Before any party produces Confidential Records pursuant to a valid
 4   discovery request or subpoena, the responding party shall conditionally produce for inspection
 5   ("Conditional Production") a copy of the proposed production to all attorneys in this action for a
 6   conditional inspection. If any party contends that redaction is necessary or a portion of the
 7   Conditional Production should not be produced, that party must notify all other parties within
 8   fifteen (15) days of receipt of the Conditional Production. If there is no such notification,
 9   production of all records may proceed. In the event of such notification, Counsel shall meet and
10   confer in good faith to resolve any disputes regarding the appropriateness of production or
11   redactions of particularly sensitive and/or unrelated medical conditions, diagnosis, or treatments.
12   If the parties cannot agree on the appropriateness for production or redaction of any particular
13   document or portion thereof, the party whose right to privacy is asserted may file a Motion For a
14   Supplemental Protective Order barring production of the disputed Confidential Records. Such a
15   motion shall be filed within five (5) business days of the meet and confer session related to the
16   Conditional Production and disputed Confidential Records shall not be produced until the Court
17   has decided the motion, but Confidential Records not in dispute may be produced. If no such
18   motion is filed within five (5) business days of the meet and confer session related to the
19   Conditional Production, any disputed Confidential Records may be produced pursuant to the
20   terms of this Protective Order.
21                     3.        Without waiving any objections regarding the admissibility of
22   Confidential Records at trial or otherwise in this litigation, Confidential Records shall be treated
23   as confidential and shall not be used for any purpose other than the prosecution or defense of this
24   litigation, including discovery and pre-trial matters, trial, and any appeal taken herein.
25   Confidential Records shall not be used party for any other purposes unless agreed to in writing
26   by all parties to this Protective Order, except as required by a valid discovery request or as
27   required by a lawful subpoena or as authorized by further order of the Court.
28
                                                          2                   Case No. 1:05-CV-01104-OWW-LJO
                                          STIPULATED PROTECTIVE ORDER
     SF/21679540.1/0999996-2960011767
       Case 1:05-cv-01104-OWW-GSA Document 131 Filed 01/22/07 Page 3 of 5


 1                     4.        If any party receives a subpoena or order issued in conjunction with other
 2   litigation that would compel disclosure of any Confidential Records, the subpoenaed party must
 3   notify all other parties in writing immediately. Such notice may be made by written notice to
 4   each party’s attorney of record herein and shall provide each party an opportunity to object to the
 5   disclosure. It is the obligation of the party receiving such notice to take action to protect his or
 6   her confidentiality interests.
 7                     5.        Confidential Records may be disclosed for purposes of this litigation to
 8   the parties, insurers, attorneys, experts and consultants, and their employees and agents,
 9   deponents during deposition, deposition notaries and staff, the Court and Court staff, and such
10   other persons as may be designated by written stipulation or further order of the Court.
11                     6.        Before the parties or their attorneys disclose Confidential Records to any
12   person(s) identified in Paragraph 5 above (excluding the parties to this case and their attorneys
13   and staff, the Court, and the Court’s staff), they must: (i) inform the person receiving such
14   Confidential Records of its confidential nature and his or her duty to maintain that
15   confidentiality; (ii) obtain his or her oral agreement to abide by the terms of this Protective
16   Order; and (iii) inform him or her that disclosure of records or information in violation of the
17   Protective Order is punishable by the Court.
18                     7.        All Confidential Records of any party or third party filed with the Court
19   for any purpose, other than at trial, shall be filed under seal according to the provisions of Local
20   Rule 39-141(c). The party whose right to privacy is protected by a “Confidential” designation
21   reserves the right to de-designate specific records, or portions thereof, at any time. Specific
22   records that are de-designated will be produced, or remain in the production, but their use will
23   not be subject to the terms of this Protective Order.
24                     8.        With the exception of a named party’s medical condition placed at issue in
25   this litigation, any reference to, description and/or summary of the information contained in
26   Confidential Records made in pleadings or other documents filed with the Court, except for use
27   at trial, shall be made in general terms and shall not specifically identify or specifically discuss in
28   any way past or present medical conditions, treatment, history or diagnosis.
                                                     3                    Case No. 1:05-CV-01104-OWW-LJO
                                          STIPULATED PROTECTIVE ORDER
     SF/21679540.1/0999996-2960011767
       Case 1:05-cv-01104-OWW-GSA Document 131 Filed 01/22/07 Page 4 of 5


 1                     9.        Any Confidential Records may be used by any party at the trial of this
 2   action, or in connection with any motion, pleading or hearing in this action, subject to the rules
 3   of evidence and the requirements of this Order, or such other Order as the Court may enter. No
 4   document introduced into evidence at the trial of this matter shall bear the designation
 5   “Confidential” unless so stipulated by the parties or ordered by the Court.
 6   Within ninety (90) days after the final disposition of this action, all copies of Confidential
 7   Records shall be destroyed by the party in possession; provided, however, that health care
 8   provider parties shall continuously retain possession of his/her/its original documents, and that
 9   counsel shall be entitled to preserve a litigation file in this matter, including Confidential
10   Records. Any Confidential Records so retained remain subject to the terms of this Protective
11   Order, except that counsel shall be entitled to use such Confidential Records in response to or
12   defense of any administrative inquiry or proceeding arising from the above-entitled litigation.
13   DATED: August 1, 2006
14                                                     BINGHAM MCCUTCHEN LLP
15

16                                                     By:        /s/
                                                                         JASON A. YURASEK
17                                                                      DANIEL A. FELDSTEIN
                                                                          Attorneys for Plaintiff
18                                                                            Brenda Allen
19
     DATED: August ___, 2006
20
                                                       BILL LOCKYER
21                                                     Attorney General of the State of California
22

23                                                     By:        /s/
                                                                    THOMAS MCCRACKIN
24                                                                        JOHN FESER
                                                                     Attorneys for Defendants
25                                                              Jeanne Woodford, Richard Rimmer,
                                                              Rosanne Campbell, Gwendolyn Mitchell,
26                                                                Sampath Suryadevara, M.D. and
                                                                       Juan Jose Tur, M.D.
27
     DATED: August ___, 2006
28
                                                          4                       Case No. 1:05-CV-01104-OWW-LJO
                                          STIPULATED PROTECTIVE ORDER
     SF/21679540.1/0999996-2960011767
       Case 1:05-cv-01104-OWW-GSA Document 131 Filed 01/22/07 Page 5 of 5


 1                                                MCCORMICK, BARSTOW, SHEPPARD,
                                                  WAYTE & CARRUTH
 2

 3
                                                  By:     /s/
 4                                                          MARIO L. BELTRAMO, JR.
                                                              DANIEL WAINWRIGHT
 5                                                             Attorneys for Defendant
                                                            Madera Community Hospital
 6

 7   DATED: August ___, 2006
 8                                                BAKER, MANOCK & JENSEN
 9

10                                                By:     /s/
                                                                SUZANNE D. MCGUIRE
11                                                               SHERRIE M. FLYNN
                                                                 Attorneys for Defendant
12                                                              Muhammed Anwar, M.D.
13

14                                               ORDER

15                     GOOD CAUSE APPEARING, the terms and conditions of the above Stipulated

16   Protective Order are hereby ordered.

17   DATED: January 22, 2007
18

19                                                By:     /s/ Dennis L. Beck
                                                                  Dennis L. Beck
20                                                         United States Magistrate Judge
21

22

23

24

25

26

27

28
                                                    5                    Case No. 1:05-CV-01104-OWW-LJO
                                        STIPULATED PROTECTIVE ORDER
     SF/21679540.1/0999996-2960011767
